Case 2:10-md-02179-CJB-DPC Document 6562-1 Filed 05/21/12 Page 1 of 2

AQ 440 (Rev. 12/69) Suminons ina Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Jared Shane Elrod, Malcoim Coco, Troy Sens, &
Derrick McMillen

Plaintiff
v. Civil Action No. 2:12-cv-981-CJB-SS

BP Exploration & Production fne., et al

Net ne ee et Se ee”

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address} BP pic
Through fis corporate headquarters
28100 Torch Parkway
Warrenville, IL 60555-3938

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Saltvacore Christina, Jr.

Becnel Law Firm
P.O,Drawer H
Reserve, LA 70084

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 2:10-md-02179-CJB-DPC Document 6562-1 Filed 05/21/12 Page 2 of 2

AO 440 (Rey. 12/09) Summons ina Civil Action (Page 2)

Civil Action No. 2:12-cv-981-CJB-SS

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for fname of inedividual and title, if any)

was received by me on (date)

(J 1 personally served the summons on the individual at (place)

on fdate) ; or

(7 [left the summons at the individual’s residence or usual place of abode with frame)

,@ person of sullable age and discretion who resides there,

On (date) .and mailed a copy to the individual’s last known address; or

(9 | served the summons on frame of individual} , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
(3 1 returned the summons unexecuted because sor
(J Other ¢specifiy):
My fees are $ for travel and $ for services, for a total of $ 6.00

t declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name ane title

Server 's address

Additional information regarding attempted service, ete:
